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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                ALEXANDRIA DIVISION

 AIDA ELZAGALLY, et al.,                     )
                                             )
 Plaintiffs,                                 )
                                             )
 v.                                          )       Case No. 1:19-cv-00853 (LMB/JFA)
                                             )
 KHALIFA HIFTER,                             )
                                             )
 Defendant.                                  )
                                             )
                                             )
 MUNA AL-SUYID, et al.,                      )
                                             )
 Plaintiffs,                                 )
                                             )
 v.                                          )       Case No. 1:20-cv-00170 (LMB/JFA)
                                             )
 KHALIFA HIFTER,                             )
                                             )
 Defendant.                                  )
                                             )
                                             )
 ALI ABDALLA HAMZA, et al.,                  )
                                             )
 Plaintiffs,                                 )
                                             )
 v.                                          )       Case No. 1:20-cv-01038 (LMB/JFA)
                                             )
 KHALIFA HIFTER,                             )
                                             )
 Defendant.                                  )
                                             )

                   PLAINTIFFS’ OPPOSITION TO DEFENDANT’S
               MOTION FOR RECONSIDERATION OF INVOKING THE
           STATE SECRETS PRIVILEGE PURSUANT TO FED. R. CIV. P. 54(b)

        Plaintiffs submit this Opposition to Defendant’s “Motion for Reconsideration of Invoking

 the State Secrets Privilege Pursuant to Fed. R. Civ. P. 54(b)” (ECF No. 195) (the “Motion”).
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         This issue has been briefed and re-briefed ad nauseum. And it has been unanimously ruled

 on by Judge Anderson (ECF Nos. 55 & 127) Judge Nachmanoff (Elzagally et al. v. Haftar, No.

 1:19-cv-0853-LMB-MSN, ECF No. 88, September 13, 2021 hearing transcript), and Judge

 Brinkema (ECF No. 88). That unanimous ruling is that the “state secrets privilege” has no

 application to this case and that Defendant cannot invoke it as a basis to withhold relevant

 deposition testimony and discovery.

         Even more so, there has been no change in controlling law that would make it appropriate

 to reconsider this decided issue yet again. Defendant introduces new cases, but not new law.

 Indeed, there is no law that Defendant can cite to that would establish a precedent for a foreign

 defendant asserting the state secrets privilege in American courts. Every U.S. federal court case

 to discuss this privilege describes it solely as a protection for the U.S. government. See, e.g., El-

 Masri v. U.S., 479 F.3d 296, 304 (“[T]he state secrets privilege must be asserted by the United

 States). The cases cited to by Defendant in his Motion do not change this well-established law.

 See e.g., U.S. v. Zubaydah, 142 S. Ct. 959 (2022) (United States asserting state secrets privilege).

 Similarly, Defendant introduces no new law that would support his failed and regurgitated

 argument that “principles of comity and customary international law require the same treatment of

 Libyan military and state secret information in this proceeding.” Mot. at 11.

         And as a final matter, this issue is now moot. Per Judge Anderson’s correct ruling (which

 Defendant now seeks reconsideration of), Defendant sat for his continued deposition and did not

 assert “state secrets privilege” in response to relevant questions. It is therefore unclear why

 Defendant is attempting to relitigate this resoundingly decided issue once again.

         Plaintiffs urge Defendant to not further waste this Court’s valuable time and resources in

 its futile (erring on the side of bad faith) attempts to breathe life into this hopelessly dead issue.




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 Date: August 1, 2023                          Respectfully Submitted,

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                                               Counsel for Hamza Plaintiffs


                                  CERTIFICATE OF SERVICE

         I hereby certify that on August 1, 2023, I electronically filed the foregoing with the Clerk

 of the Court using the CM/ECF system, which will send a notification of such filing to counsel of

 record for all parties.


                                               /s/ Thomas M. Craig
                                               Thomas M. Craig, Esq.




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